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   8                       UNITED STATES DISTRICT COURT
   9                     CENTRAL DISTRICT OF CALIFORNIA
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  11   UNITED STATES OF AMERICA ex                Case No. 2:17-cv-04393-RGK-KS
       rel. ISLAND INDUSTRIES, INC.,,
  12                                              [PROPOSED] ORDER
                      Plaintiffs,                 DISMISSING DEFENDANT
  13                                              SMITH COOPER
             v.                                   INTERNATIONAL, INC.
  14
       VANDEWATER INTERNATIONAL                   Date: April 26, 2021
  15   INC.; NEIL REUBENS; ANVIL                  Time: 9:00 A.M.
       INTERNATIONAL, LLC; SIGMA                  Dept: 850
  16   CORPORATION; SMITH COOPER                  Judge: Hon. Gary Klausner
       INTERNATIONAL; ALLIED
  17   RUBBER & GASKET COMPANY,
       and JOHN DOES Nos. 1-10.,
  18
                      Defendants.
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                              [PROPOSED] ORDER DISMISSING SMITH COOPER INTERNATIONAL, INC.;
                                                                 CASE NO. 2:17-cv-04393-RGK-KS
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    1                                 [PROPOSED] ORDER
    2         Having considered Relator Island Industries, Inc. and Defendant Smith
    3   Cooper International’s Joint Motion to Dismiss Smith Cooper International by
    4   Confidential Settlement, the consent of the United States filed in support thereof,
    5   and for good cause shown, the Court hereby ORDERS as follows:
    6            1. As to Relator Island Industries, Inc., the claims against Smith Cooper
    7                International, Inc. are dismissed in their entirety with prejudice;
    8            2. As to the United States, the claims against Smith Cooper International,
    9                Inc. are dismissed with Prejudice as to the Covered Conduct as that
   10                term is defined in Recitals Paragraph E of the Confidential Settlement
   11                Agreement and is dismissed without prejudice with respect to all
   12                remaining claims against Smith Cooper International, Inc. (including,
   13                without limitation claims identified in Paragraph 9 of the Confidential
   14                Settlement Agreement); and
   15            3. The Court retains jurisdiction to adjudicate, if necessary, Relator
   16                Island’s claim to a share of the proceeds of the civil action pursuant to
   17                31 U.S.C. § 3730(d), and to enforce, if necessary, the Confidential
   18                Settlement Agreement.
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        IT IS SO ORDERED.
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   21 Dated: April 5, 2021
                                                  Hon. R. Gary Klausner
   22                                             United States District Judge
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                                [PROPOSED] ORDER DISMISSING SMITH COOPER INTERNATIONAL, INC.;
                                                                   CASE NO. 2:17-cv-04393-RGK-KS
